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      MI                                                                                                     I

                            TM   ThE                                                                    -
                     j                         DLE DISTRICT OF,
          (.J'f21


      Full name and prison name of

      V.
      147j
                                                             CIViL ACTION NO(9 17 O - 3            /
                                                             (To be supplied by Clerk of U.S. District
                                                     )
      PL'U..00JC £.CnAt fp,/
          KIC.Mi
                                                              Court).




      Name of person(s) wIó vi(atëd                  )
      constitutional rights. (List the names         )
      of all the person.)                            )

      L      PREVIOUS-LAWSUITS
             A.      Have you began. other lawsuits in state or. federW court dealing with the same. or
                     similar facts involved in this action? YES     No
             B.      Have you begun other lawsuits in state or federal court relating to your
                     imprisonment?    -YES IV       NOR
             C.      If your answer to A or B js ye, describe each lawsuit in the space below. (If there
                     is more than one lawsuit, describe the additional lawsuits on another piece of paper,
                     using the same outline.)
                     I•      Parties to this previous lawsuit:
                             Plaintiff (s)4(4&i . Mt4v02zj
                                                    ....
                             Defendant(s) _i LiôC.L


                     2.      Court (if federal court, name the district; if state court, name the county)
r   RECEIVED
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      JUN 122017
                      4.
                      S.
                             Docketnumber _ L'* C-/r
                             Name ofju4ge'to whom easèwas assigned
                                                                  C/'                   .
                                                                                                          9:



                    Disposition (for example w s the ase dismissed 9 Was it appealed 7 Is it still
            CLERKpending 7) 7 U€Y1                 4           cr,
                                                            rcjctL
    . SD    TRICTOOLJT       Approximate date of filing law* suit q 13— &Q!&(-..)           f
                       7     Approximate date of disposition
      H PLACE OF PRESENT CONFINEMENT                           E (- i'i       4—cr' flCL
                   (/bV/W p(1.€                         ptwe*4—
                                          ICEDENT OCCURRED Jk L( 6
               PLACE OR INSTITUTION WHERE N                                                 A:::.0 1 C'

       M. NAME AND ADDRESS OF INDIVIDUAL(S) YOU ALLEGE VIOLATED YOUR
            CONSTITUTIONAL RIGHTS.
                      NAME                                      ADDRESS

       1.
      2. ws4-Nôdorcofi                                                       5_&
      3. LoQZe      /O S
      4.


      5.


      6.            fbb/7            1L4-^OK7       PFSE)N CS
      IV.      THE DATE UPON WHICH SAID VIOLATION OCCURRED Ih e7frecj c1 '71^                             '•

                                                                                                     /
      V.       STATE BRIEFLY THE GROUNDS ON WHICH YOU BASE YOUR ALLEGATION
               THAT YOUR CQNSTrn TTI0M&!      A.Rl: BEING VIOLATED
               GROUND ONE              UP flki z               bh l z/




                                                                                                          A
                                                            S
  Case 2:17-cv-00388-WKW-SRW Document 1 Filed 06/14/17 Page 3 of 5
                 .
STATE BRIEFLY THE FACTS WHICH SUPPORT THIS GROUND. (State as best you can the
time, place and manner and person involved)
 41   ! I   I        -    .            i       -   .-   )          A 'J




SUPPORTING FACTS:____________________________________________

                               ,       C,r4vvi                            alF-



GROUND
   uND THREE        5C iZ                               a


SUPPORTING FACTS:




                                   •       -




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VI. STATE BRIEFLY EXACTLY WHAT YOU WANT THE COURT TO DO FOR YOU.
      MAKE NO LEGAL ARGUMENT. CITE NO CASES OR STATUTES.




                                           §W/        4/O
                                            ignature of plaintiff(s)            a
    I declare under penalty of perjury that the fortgomg is true and correct.
    Executed on
                           (Date)


                                                     aiie2
                                           Signature of plaintiff(s)
                                                                       ki
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